Case 1:22-mc-00096-RC Document 1-68 Filed 10/17/22 Page 1 of 12




            EXHIBIT B-12
         Case 1:22-mc-00096-RC Document 1-68 Filed 10/17/22 Page 2 of 12




                                   UNDER SEAL

                              DCCA No. 21-BS-0059

                           DISTRICT OF COLUMBIA
                              COURT OF APPEAL

_______________________________
                                   :
In the Matter of                   :
                                   :
Confidential (J.B.C.),             :          Disciplinary Docket No. 2021-D193
                                   :
      Respondent                   :
                                   :
A Member of the Bar of the District :
  of Columbia Court of Appeals     :
_______________________________:

           DISCIPLINARY COUNSEL’S REPLY TO RESONDENT’S
               OPPOSITION TO MOTION TO COMPEL AND
                 CROSS-MOTION TO QUASH SUBPOENA

                    ADDITIONAL FACTUAL STATEMENTS

         Contrary to Respondent’s Response to the Motion to Compel (“Response”),

Disciplinary Counsel did not inform Senator Durbin that it “would automatically

furnish the Senator with any response made by Mr. Clark.” See Exhibit A attached.

Disciplinary Counsel has not disclosed to the Judiciary Committee staff or Senator

Durbin any of the responses from Mr. Clark nor the fact that this motion has been

filed.

         For almost two years, Disciplinary Counsel has been conducting business

electronically. Uniquely in this case, and in contrast to hundreds of other cases since
        Case 1:22-mc-00096-RC Document 1-68 Filed 10/17/22 Page 3 of 12




March 2020, this respondent failed to receive the electronic communications, even

though none of the electronic communications “bounced back.” A “B letter” and a

subpoena was forwarded to Mr. Clark’s first lawyer in October 2021. After being

alerted in November that this communication had not been received and that counsel

had withdrawn, Disciplinary Counsel forwarded the letter and subpoena to Mr. Clark

directly. Again, there was no bounce back. Mr. Clark became ill. He also claimed

that he had not received complete copies of the materials, some of which had been

captured by his spam filter. Although his affidavit is vague as to when he first

received the subpoena, he clearly had it as of January 6, 2022. See Affidavit of

Jeffrey B. Clark, ¶ 6, Exh. 2 to Response.

        Before January 31, 2022, neither Mr. Clark nor his counsel complained about

lack of personal service. Nor did either ever express any concerns about producing

the subpoenaed documents prior to January 31. This entire course of conduct seems

to be designed to achieve nothing other than to delay Disciplinary Counsel’s

investigation. A January 31 letter (Exhibit C to the Motion) asked explicitly for

Disciplinary Counsel to defer its investigation until after the January 6th House

Committee’s investigation, despite the fact that Mr. Clark had publicly refused to

cooperate with that investigation.

                                     ARGUMENT

   I.     Respondent Has Failed to Meet His Burden of Showing That the Act
          of Producing the Subpoenaed Documents Would Incriminate Him.

                                         2
       Case 1:22-mc-00096-RC Document 1-68 Filed 10/17/22 Page 4 of 12




      Respondent fails utterly to show—even address—how production of the

subpoenaed documents would incriminate him. There is no conceivable crime that

could be proven by showing Respondent was in possession of evidence of election

fraud, which he wished to be investigated, or what authority he was aware of to

justify the Department of Justice intervening in an election certification process.

Senator Durbin’s letter raised the prospect of a violation of Rule 1.2(e), prohibiting

counseling a client to engage in criminal or fraudulent conduct. Senator Durbin did

not explain what criminal or fraudulent conduct he was referring to, and Disciplinary

Counsel has been unable to identify it, which is why it is not investigating a Rule

1.2(e) violation. If Respondent had evidence of election fraud, how would the act

of producing that evidence implicate him when he sought to have his “client”

investigate election fraud? It would seem to prove the exact opposite.

      Nor does bloviating by various commentators in the media mean that there is

an actual criminal violation that might be proven by showing Respondent possessed

evidence of election fraud (committed by others; there is no suggestion Respondent

engaged in election fraud) or legal authority for the Department to intervene in the

certification of a state’s election. Production of such evidence could in no way

incriminate Respondent for the crimes his Response lists: witness tampering (18

U.S.C. 1512); conspiracy to defraud the United States (18 U.S.C. 371); voter

intimidation or voter fraud (53 U.S.C. 20511); political campaigning by a

                                          3
       Case 1:22-mc-00096-RC Document 1-68 Filed 10/17/22 Page 5 of 12




government employee (5 U.S.C. 7323); conducting an enterprise through a pattern

of racketeering (18 U.S.C. 1962(c); or conspiring to overthrow by force the

government of the United States (18 U.S.C. 2384). Respondent does not even

attempt to articulate how showing he possessed the documents called for would be

a link in the chain of evidence that might be used to prove any of these violations.

He does not attempt to do so because it is impossible.

      It is Respondent’s burden to show producing these documents would be

incriminating. Citing Carter v. United States, 684 A.2d 331 (D.C. 1996) (en banc),

Respondent says that he does not have to prove that a prosecution is likely. But he

does have to show that the testimony would be “incriminating.” Carter at 338, 344.

He has made no showing. The absence of a criminal investigation of Respondent

may not be dispositive, but it is certainly significant evidence that Respondent is in

no danger of criminal prosecution. If Respondent’s showing is sufficient, then any

lawyer whose records are subpoenaed by Disciplinary Counsel can simply assert that

the act of producing them would incriminate him, cite vaguely to a criminal statute,

and refuse to comply. The ability to subpoena documents, the only formal discovery

tool that Disciplinary Counsel has, would be a nullity.

      The act of production doctrine is limited to evidence that is incriminating—

financial records showing tax fraud (United States v. Hubble, 1867 F.3d 352 (D.C.

Cir. 199), aff’d 530 U.S. 27 (2000)) or a coerced witness statement (In re Public



                                          4
         Case 1:22-mc-00096-RC Document 1-68 Filed 10/17/22 Page 6 of 12




Defender Service, 831 A.2d 890 (D.C. 2003))—whereby the very act of production

establishes an element of the crime. Hubble had to produce records that showed his

tax evasion was intentional. PDS may have had a client’s document that, if

produced, would show a client had coerced a false witness statement. When

Respondent complies with this subpoena, he will show only that he had evidence of

election fraud or authority for the Department’s intervention in a state certification.

That does not incriminate him.

         Respondent is quite open about wanting to delay and has requested

Disciplinary Counsel to defer. Delay is unfortunately endemic to our disciplinary

system, but it is not conducive to the development of facts about conduct that

occurred more than one year ago. Disciplinary Counsel urges the Court to decide

this case without the requested oral argument and to do so quickly.

   II.     Respondent’s Motion to Quash is Untimely and Without Merit.

         Rule XI, § 18, permits Disciplinary Counsel to subpoena documents during

an investigation and provides that it may apply to the Court to enforce a subpoena.

Board Rule 3.14 also permits Disciplinary Counsel to apply directly to the Court; no

proceedings before the Board are required. The rules also permit a respondent to

file a motion to quash before the Board, which is to be determined by a hearing

committee. Rule XI, § 18(c); Board Rule 3.15. Respondent did not avail himself of

this procedure. Instead, he strung out the process, never raising any informal, much



                                          5
       Case 1:22-mc-00096-RC Document 1-68 Filed 10/17/22 Page 7 of 12




less formal objection to the subpoena until the date on which production was due,

and then raised his Fifth Amendment claim. Only after Disciplinary Counsel filed

its motion to compel, did he file a purported motion to quash, not with the Board, as

required by Rule XI, § 18(c) and Board Rule 3.15, but with this Court. In addition

to filing his motion in the wrong forum, it is untimely. A motion to quash should be

filed before the production date, or at least no later than that date, and not after the

subpoena is overdue and a motion to compel has been filed.

      It appears there are five grounds for the motion to quash. First, Respondent

complains he was not personally served. He has waived this claim by not raising it

promptly. Moreover, he does not dispute that he has the actual subpoena, provides

no explanation for why he has been prejudiced, and offers no explanation as to how

he would be in a more advantageous position if he were provided another copy by

personal service. See Hall v. Sullivan, 229 F.R.D. 501, 504 (D. Md. 2005) (no reason

to require personal service of subpoena duces tecum “so long as the service is in a

manner that reasonably ensures actual receipt of the subpoena by the witness.”)

During the pandemic, most persons have accepted process electronically because

they actively eschew personal contact from strangers. If Respondent wanted such

service even though he was in physical receipt of the subpoena, he should have said

so before the return date. Cf. In re Clark, 684 A.2d 1276 (D.C. 1996) (respondent




                                           6
       Case 1:22-mc-00096-RC Document 1-68 Filed 10/17/22 Page 8 of 12




waives challenge to personal jurisdiction by acknowledging receipt of petition,

requesting more time to respond, and submitting responsive pleading).

      Second, Respondent argues that Disciplinary Counsel has served

interrogatories, not a document subpoena. This is precisely the sort of argument that

Respondent should have raised initially with Disciplinary Counsel, and if that had

failed, in a timely motion to quash. The documents sought are identified by the date

they came to Respondent’s attention in order to discern what documents he had in

late December 2020 and early January 2021. This not only limits the scope of the

subpoena but also deals with the problem illustrated by the Response itself: the

tendency to rely on information that was not in existence at the relevant time. See

Response at 25-28 (relying on sources of information published after January 2021).

The requested documents are nothing like the detailed requests in In re Artis, 883

A.2d 85 (D.C. 2005), which were propounded and labeled as interrogatories. Id. at

98, n.12. But even in Artis, this Court noted a respondent’s Rule XI, § 8(a) obligation

to respond to [Disciplinary] Counsels’ written inquires . . . .” Id. at 93.

      Third, he claims that, despite the existence of a statute, 28 U.S.C. § 530B, and

Department of Justice regulations, 28 C.F.R. § 77.1 et seq., both of which subject

Department of Justice lawyers to state codes of professional conduct, the District of

Columbia has no general disciplinary authority over Department lawyers because it

is not a “state.” The Department’s regulations specifically include the District of



                                           7
       Case 1:22-mc-00096-RC Document 1-68 Filed 10/17/22 Page 9 of 12




Columbia. 28 C.F.R. §§ 77.2; 77.3. Furthermore, it is well settled that local

jurisdictions, including the District of Columbia, can regulate federal attorneys

admitted to their bars. Leis v. Flynt, 439 U.S. 438, 442 (1972). This is so even if 28

U.S.C. § 530B did not explicitly say as much. See Mendoza Toro v. Gil, 110

F.Supp.2d 28, 37 n. 3 (D.P.R. 2000) (DOJ attorneys subject to local ethics rules even

though territory is not a state). This Court has disciplined members of its bar who

work for the Department of Justice for years. See In re Kent, 467 A.2d 982 (D.C.

1983); In re Howes, 52 A.3d 1 (D.C. 2012); In re Kline, 113 A.3d 202 (D.C. 2015).

There has never been a suggestion that the D.C. Rules of Professional Conduct do

not apply to Department of Justice lawyers because D.C. is not a state. In Kline and

in a case now pending before this Court, In re Dobbie and Taylor, DCCA No. 21-

BG-024, the Department has filed amici briefs in support of its respondent lawyers.

Neither brief argued that Department lawyers were not subject to this Court’s

disciplinary authority.

      Fourth, in a vague separation-of-powers, federal-supremacy argument,

Respondent claims the disciplinary rules do not apply to lawyers who are senior

federal officials. This argument was raised only for the purpose of preserving it, but

this Court has disciplined members of its Bar serving as senior federal officials in

the past. See In re Allen, 27 A.3d 1178 (D.C. 2011) (Assistant to the President for




                                          8
      Case 1:22-mc-00096-RC Document 1-68 Filed 10/17/22 Page 10 of 12




Domestic Policy); In re Abrams, 689 A.2d 6 (D.C. 1997) (en banc), cert. denied,

521 U.S. 1121 (1997) (Assistant Secretary of State).

      Fifth, Respondent argues that his conduct could not possibly constitute a

violation of Rules 8.4(a), (c), or (d). This cart is way before the horse. The “B letter”

and the accompanying subpoena were the initial step in this investigation. The

investigation is not complete, no charges are brought, and none may ever be.

Disciplinary Counsel knows a little more about the facts than in the normal case

because of the Senate Report, however. It appears that Respondent may have

repeatedly attempted to persuade and then coerce the Acting Attorney General to

send a letter that had false claims about the status of the Department’s investigations.

The letter also sought to convene the Georgia legislature to take certain action for

which there may have been no basis. In at least one other case, this Court has applied

Rule 8.4(d) to a legislative proceeding. In re White, 11 A.3d 1226 (D.C. 2011).

Moreover, had Respondent achieved his result, undoubtedly much unnecessary

litigation would have followed. But the question of whether there are actual

violations here cannot be resolved until the investigation is completed.

   III.   Respondent’s “Pandora’s Box” Arguments Are Not a Basis to Deny
          Enforcement of the Subpoena.

      It is difficult to discern the relevancy of these arguments, which are an

amalgam of claims that any allegations against Respondent are purely partisan and

that there were valid claims of election fraud. At best, they are policy reasons why

                                           9
      Case 1:22-mc-00096-RC Document 1-68 Filed 10/17/22 Page 11 of 12




charges should not be brought, which are premature at the investigative stage when

the facts have not been determined. Moreover, the charging decision is one the Court

has delegated to Disciplinary Counsel, subject to the contact member process. Rule

XI, § 6(a). But just because a lawyer’s conduct occurred in a politicized environment

does not insulate him from scrutiny for violations of the Rules of Professional

Conduct.

      WHEREFORE, the Motion to Compel should be granted, and the Motion to

Quash should be denied.

                                      Respectfully submitted,

                                      Hamilton P. Fox, III
                                      ______________________________
                                      Hamilton P. Fox, III
                                      Disciplinary Counsel
                                      Bar Registration No. 113050

                                      /s/ Jason R. Horrell
                                      Jason R. Horrell
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                                         10
      Case 1:22-mc-00096-RC Document 1-68 Filed 10/17/22 Page 12 of 12




                         CERTIFICATE OF SERVICE

      I hereby certify that on this 18th day of February, 2022, I caused a copy of the

foregoing Disciplinary Counsel’s Response to Respondent’s Opposition to Motion

to Compel and Cross Motion to Quash Subpoena to be served to Respondent’s

counsels     via     email      to     Harry       W.     MacDougald,         Esquire

hmacdougald@CCEDlaw.com,              to        Charles        Burnham,      Esquire,

charles@burnhamgorokhov.com,          and       Robert    A.      Destro,    Esquire,

Robert.destro@protonmail.com.


                                                Hamilton P. Fox, III
                                                ______________________________
                                                Hamilton P. Fox, III




                                           11
